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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

 IN RE: TIKTOK, INC.,                       MDL No. 2948
 CONSUMER PRIVACY
 LITIGATION                                 Master Docket No. 20 C 4699

                                            Judge John Z. Lee

                                            Magistrate Judge Sunil R. Harjani

 This Document Relates to All Cases


     ORDER AND FINAL JUDGMENT GRANTING FINAL APPROVAL
                OF CLASS ACTION SETTLEMENT

      WHEREAS, this matter came before the Court on Plaintiffs’ Motion for

Final Approval of Class Action Settlement, ECF No. 195, and Plaintiffs’ Motion

for Attorneys’ Fees, Reimbursement of Expenses, and Class Representative

Service Awards, ECF No. 197.

      WHEREAS, unless otherwise defined, all terms used herein have the same

meanings as set forth in the Settlement Agreement, ECF No. 122-1.

      WHEREAS, after carefully considering the motions, all supporting papers,

the arguments of counsel, and all objections, the Court issued a Memorandum

Opinion and Order granting final approval of the Settlement Agreement and

Plaintiffs’ fee petition on July 28, 2022 (“Final Approval Order”), ECF No. 261.

      Now, in consideration of the entire record herein, IT IS HEREBY

ORDERED THAT:

      1.     Jurisdiction. This Court has subject matter jurisdiction over this

action and personal jurisdiction over the Parties in this action.
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        2.     Class Certification. The Nationwide Class and Illinois Subclass, as

defined in the Court’s Preliminary Approval Order, ECF No. 161, and the Final

Approval Order, are certified for settlement purposes only pursuant to Federal

Rule of Civil Procedure 23, and are defined as follows:

        NATIONWIDE CLASS

        All persons who reside in the United States who used the App—the TikTok

        video sharing application (or its Musical.ly predecessor) distributed in the

        United States—prior to September 30, 2021.

        ILLINOIS SUBCLASS

        All persons who reside in the State of Illinois and used the App—the

        TikTok    video-sharing     application    (or   its   Musical.ly    predecessor)

        distributed in the U.S.—in the State of Illinois to create videos prior to

        September 30, 2021.1

Certification of the Settlement Class is appropriate pursuant to Federal Rule of

Civil Procedure 23 for the reasons set forth in the Preliminary Approval Order

and the Final Approval Order.           Specifically, the Court concludes that: the

Settlement Class is so numerous that joinder of all members is impracticable;

there are questions of fact or law common to the Settlement Class; Plaintiffs’

claims are typical of the claims of the Settlement Class Members that Plaintiffs



1       Excluded from the Settlement Class are: (i) TikTok, its parent, subsidiaries,
successors, affiliates, officers, and directors; (ii) the judge(s) to whom the Civil Actions are
assigned and any member of the judge’s or judges’ immediate family; (iii) persons who have
settled with and released TikTok from individual claims substantially similar to those alleged
in the Civil Actions; (iv) persons who submit a valid and timely Request for Exclusion; and
(v) all Class Counsel and counsel of record in the Civil Actions.

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seek to represent; Plaintiffs are capable of fairly and adequately protecting the

interests of all members of the Settlement Class; and common questions of law

and fact predominate over questions affecting only individual persons in the

Settlement Class. Accordingly, the Settlement Class appears to be sufficiently

cohesive to warrant settlement by representation, and certification of the

Settlement Class appears to be superior to other available means for the fair and

efficient settlement of the claims of the Settlement Class.

      3.     Class Representatives. The Court confirms the appointment of the

following individuals as Class Representatives: Katherine Czajka; Misty Hong;

Aparna Iyer; Brandy Johnson; Morgan Kukovec; Karina Quinteiro; and Meghan

Smith; and minors A.S. ex rel. Laurel Slothower; A.S. ex rel. A.S.; A.R.; G.R.; C.W.;

I.W.; P.S.; M.T.W.; N.T.; L.T.; S.P.; J.P.; K.P.; G.P.; L.M.; A.J.; E.R.; R.S.; J.S.;

S.A.; L.B.; L.P.; M.P.; A.O.; H.S.; K.M.; C.H.; and D.M.

      4.     Plaintiffs’ Counsel. The Court confirms the appointment of the

following attorneys to represent the Settlement Class in the following roles:

Katrina Carroll, Ekwan Rhow, and Elizabeth Fegan as Co-Lead Counsel;

Shannon Marie McNulty as Liaison Counsel; and Jonathan Jagher, Megan E.

Jones, Michael Gervais, Amanda K. Klevorn, and Albert Y. Chang as the

remaining members of the Plaintiffs’ Executive Committee.

      5.     Notice. The Class Notice was disseminated in accordance with the

procedures required by the Court’s Order Granting Preliminary Approval, ECF

No. 162, as set forth in the Declaration and Supplemental Declaration of Steven

Platt of Angeion Group LLC Re: Settlement Administration, ECF Nos. 196, 241,

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in accordance with applicable law, satisfied the requirements of Rule 23(e) and

due process, and constituted the best notice practicable for the reasons discussed

in the Preliminary Approval Order and Final Approval Order.

      6.     Fairness Hearing. The Court held a Fairness Hearing on May 18,

2022 to consider the fairness, reasonableness, and adequacy of the proposed

Settlement, and adequate notice of the proceedings was given to Settlement Class

Members, with a full opportunity to participate in the Fairness Hearing.

      7.     Objections. The Court has carefully considered and overruled any

objections to the Settlement as reflected in its Final Approval Order.

      8.     Fairness of the Settlement. The Court concludes that the Settlement

is a fair, reasonable, and adequate compromise of the claims asserted in this

action for the reasons set forth in the Final Approval Order. Specifically, the

Court has considered each of the factors in Rule 23(e)(2) and each of the factors

set forth in Wong v. Accretive Health, Inc., 773 F.3d 859, 863 (7th Cir. 2014). The

factors the Court has considered include: “(1) the strength of the case for plaintiffs

on the merits, balanced against the extent of [the] settlement offer; (2) the

complexity, length, and expense of further litigation; (3) the amount of opposition

to the settlement; (4) the reaction of members of the class to the settlement; (5)

the opinion of competent counsel; and (6) [the] stage of the proceedings and the

amount of discovery completed.” Id. The Court has found that these factors

supported final approval. The Court has also carefully considered Plaintiffs’

request for 33.33% of the gross Settlement Fund in attorneys’ fees to Class

Counsel plus actual costs; and $2,500 for each Class Representative as service

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awards in connection with this Action.

         9.    Plaintiffs’ Attorneys’ Fees. The Court concludes that attorneys’ fees

and costs should be awarded from the net settlement fund of $87,843,787.95 as

calculated in the Final Approval Order. The Court concludes that one-third of the

net settlement fund, which amounts to $29,279,203.44, is reasonable under Rule

23 for the award of attorneys’ fees based on, inter alia, the amount of work

performed in this case and the risk involved. Further, the lodestar cross-check,

as set forth in the Final Approval Order, confirms the reasonableness of the

award. The Court orders the allocation of the fee award as set forth in the Final

Approval Order.

         10.   Litigation Expenses. The Court finds that Class Counsel’s request

for reimbursement of $789,944.00 in litigation expenses is reasonable under Rule

23 and in line with private market standards, and orders reimbursement of the

same as set forth in the Final Approval Order.

         11.   Objectors’ Fees. The Court further awards objector Mark S’s

counsel, Loevy & Loevy (“Loevy”), $100,000 in attorney’s fees, which is reasonable

based on Loevy’s timesheets, because it approximates the percentage of Loevy’s

time that was devoted to improving the notice program for the benefit of the

Class.

         12.   Service Awards. Finally, the Court approves the request for service

awards of $2,500 for the Class Representatives, $1,500 to objector Mark S., and

$1,000 to objector Litteken, as reasonable under Rule 23, and awards payment

as set forth in the Final Approval Order.

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      13.    Effect of Vacatur on Class Certification. If the Final Approval Order

is set aside, materially modified, or overturned by this Court or on appeal, and is

not fully reinstated on further appeal, this Order certifying a Settlement Class

shall be vacated nunc pro tunc.

      14.    Binding of Parties. All Parties are bound by the Final Approval

Order, this Order and Final Judgment, and the Settlement Agreement.

      15.    Monetary Relief. The Court orders the Parties to distribute the

proceeds of the Settlement Fund to Class Members who filed valid claims

according to the process set forth in the Plan of Allocation, ECF No. 122-3.

      16.    Affirmative Obligations. Pursuant to the Settlement Agreement, §§

6.1–6.4, the parties have agreed that Defendants shall refrain from the following,

unless disclosed in the TikTok Privacy Policy:

             a. Using the TikTok App (“App”) to collect or store a user’s

                  biometric information or identifiers (as defined by applicable

                  law);

             b. Using the App to collect geolocation or GPS data;

             c. Using the App to collect information in user’s clipboards;

             d. Using the App to transmit United States user data outside of the

                  United States;

             e.   Storing United States user data in databases outside of the

                  United States; or

             f. Pre-uploading United States user-generated content.

  Additionally, Defendants are required to:

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             g. Delete all pre-uploaded user-generated content collected from

                users who did not “save” or “post” the content;

             h. Require newly designed training on compliance with data

                privacy laws and company procedures for all relevant incoming

                employees and contractors, and annual training thereafter; and

             i. Provide a written verification under oath of compliance with the

                foregoing within ninety (90) days of the Effective Date of the

                Settlement Agreement.

      17.    Binding of Class Members. All Class Members, except those who

timely opted out and as otherwise set forth in the Final Approval Order, are

bound by the Final Approval Order and this Order and Final Judgment.

      18.    Motion to Accept Opt-Outs. With respect to the 851 requests for

exclusion in Exhibit B and Exhibit E to the motion to accept opt-outs, ECF No.

207, that were previously deemed invalid by the Settlement Administrator

Angeion as “mass” opt-outs, the Court orders Angeion to accept these 851 opt-out

requests, subject to a determination that they meet the remaining opt-out criteria

enumerated on page 42 of the Final Approval Order.

      19.    Amendments to Settlement Agreement. The Parties are authorized,

without further approval from the Court, to agree to and adopt such amendments,

modifications, and expansions of the Settlement Agreement as (i) shall be

consistent in all material respects with the Final Order and Judgment and (ii) do

not limit the rights of the Parties or Class Members.

      20.    Dismissal of Actions. The Court dismisses, on the merits and with

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prejudice, the above-captioned action, all member cases related to and/or

consolidated with this action, and all claims currently pending before it belonging

to Class Members who did not request exclusion from the Class in the time and

manner provided for in the Class Notice (“Settlement Class Members”).

       21.    Release of Plaintiffs’ Claims. As of the Effective Date of the

Settlement Agreement, Plaintiffs’ Releasing Parties (as defined in the Settlement

Agreement) irrevocably release, waive, and forever discharge and hold harmless

Defendants’ Released Parties of and from any and all Released Claims (as defined

in the Settlement Agreement), which they have or may hereafter have.

       22.    Release of Defendants’ Claims. As of the Effective Date of the

Settlement Agreement, Defendants’ Releasing Parties (as defined in the

Settlement Agreement) irrevocably release, waive, and forever discharge and

hold harmless Plaintiffs’ Released Parties of and from any and all liabilities,

claims, cross-claims, causes of action, rights, actions, suits, debts, liens, contracts,

agreements, damages, costs, attorneys’ fees, losses, expenses, obligations, or

demands of any kind whatsoever, whether known or unknown, existing or

potential, or suspected or unsuspected, whether raised by claim, counterclaim,

setoff, or otherwise, including any known or unknown claims, which they have or

may claim now or in the future to have, relating to the institution, prosecution,

or settlement of the Civil Action, except for claims relating to the enforcement of

the Settlement or this Agreement, and for the submission of false or fraudulent

claims for Settlement benefits.

       23.    Exclusive Remedy. Upon issuance of the Final Approval Order and

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this Order and Final Judgment: (i) the Settlement shall be the exclusive remedy

for Settlement Class Members; (ii) Defendants’ Released Parties shall not be

subject to liability or expense of any kind to any of Plaintiffs’ Releasing Parties

for reasons related to the Civil Actions except as set forth herein; and (iii)

Plaintiffs’ Releasing Parties shall be permanently barred from initiating,

asserting, or prosecuting any and all released claims against Defendants’

Released Parties.

      24.    No Further Litigation. All members of the Class who did not make

a valid request for exclusion in the time and manner provided in the Class Notice,

or as otherwise set forth in the Final Approval Order, are barred from

commencing or prosecuting any action, suit, proceeding, claim or cause of action

in any jurisdiction or court against Defendants’ Released Parties based upon,

relating to, or arising out of, any of the Released Claims.

      25.    Use of Settlement Agreement. Neither the Settlement Agreement,

nor any acts performed in furtherance of the Settlement Agreement, nor any

documents executed in furtherance of the Settlement Agreement may be deemed

or used as evidence of an admission or other statement supporting: (a) the validity

of any claim made by Plaintiffs, Class Members, or Class Counsel (including the

appropriateness of class certification); (b) any wrongdoing or liability of the

releasees; or (c) any fault or omission of the releasees in any court, administrative

agency, or other proceeding. Further, neither the Settlement Agreement (nor any

Addendum thereto) shall be offered or be admissible in evidence against

Defendants’ Released Parties or cited or referred to in any action or proceeding,

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except in an action or proceeding that is in furtherance of its terms or brought to

enforce its terms.

      26.    Effect of Vacatur. If this Order and Final Judgment, other than

those portions relating in any way to the award of attorneys’ fees, costs, expenses,

or incentive awards, is set aside, materially modified, or overturned by this Court

or on appeal, and is not fully reinstated on further appeal, this Order and Final

Judgment shall be deemed vacated and shall have no force or effect whatsoever.

      27.    Continuing Jurisdiction. Without affecting the finality of the Final

Approval Order or this Order and Final Judgment in any way, the Court reserves

continuing jurisdiction over matters relating to the Settlement, including,

without limitation, the administration, interpretation, effectuation and/or

enforcement of the Settlement, the Settlement Agreement, and this Final Order

and Judgment.

      28.    Corrections. Pursuant to Federal Rule of Civil Procedure 60(a), the

Court hereby corrects the names and parent companies of the defendants in the

Civil Actions as displayed on the Court’s docket and in the Final Approval Order

to reflect the correct and current legal names of those entities as follows: (i) the

correct name of the entity named in the Civil Actions as “TikTok, Inc.” is “TikTok

Inc.”; (ii) the correct name of the entity named in the Civil Actions as “Musical.ly”

or “TikTok, Ltd.” is “TikTok Ltd.”; (iii) the correct name of the entity named in

the Civil Actions as “Beijing ByteDance Technology Co., Ltd.” or “Beijing

ByteDance Technology Co. Ltd.” is “Beijing Douyin Information Service Co. Ltd.”;

(iv) the correct name of the entity named in the Civil Actions as “ByteDance, Inc.”

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is “ByteDance Inc.”; and (v) the correct name of the foreign parent company of

TikTok Ltd. that is not a named defendant in the Civil Actions but that is named

as “ByteDance, Inc.” on page 1, line 8 of the July 28, 2022 Final Approval Order

is “ByteDance Ltd.,” a Cayman Islands company.


IT IS SO ORDERED.                     ENTERED: 8/22/22



                                      __________________________________
                                      John Z. Lee
                                      United States District Judge




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